424 F.2d 1366
    75 L.R.R.M. (BNA) 2436, 64 Lab.Cas.  P 11,289
    E. B. WEBER, E. A. Schlecht, Robert J. Caley, Norman L.Buckner, Carl M. Halvorson, Eric Hoffman, J. M. Steinmuller,Jr., and G. O. Gulde, as Trustees for the Oregon-WashingtonCarpenters-Employers Health and Welfare, Pension, andApprenticeship and Training Trust Funds, Appellants,v.Wendell HIATT, Appellee.
    No. 23948.
    United States Court of Appeals, Ninth Circuit.
    May 6, 1970.
    
      Paul T. Bailey (argued), Stephen M. Malm. of Bailey, Swink &amp; Haas of Portland, Or., for appellants.
      Henry R. Camarot (argued), of Sanders, Lively, Camarot &amp; Wiswall, Spring-field, Or., for appellee.
      Before CHAMBERS and WRIGHT, Circuit Judges, and BOLDT, District judge.1
      PER CURIAM:
    
    
      1
      This case concerns the same carpenters' fund as was before the court in Hiatt (Bernard) v. Schlecht, et al., 400 F.2d 875 (9th Cir. 1968).
    
    
      2
      There are minor differences and the Wendell Hiatt position here is slightly better than Bernard's in the first case.  But we do not find the factors significant enough to call for a different result.  Most of the arguments presented by the plaintiffs (appellants) here would be equally applicable to the first Hiatt case.  Any 'affecting' of commerce, in our view, is exceedingly de minimis.
    
    
      3
      The judgment of the district court dismissing the action for lack of subjectmatter jurisdiction (the activities not 'affecting' commerce) is affirmed.
    
    
      
        1
         The Honorable George H. Boldt, Western District of Washington
      
    
    